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        In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                           No. 14-1155V
                                      Filed: October 5, 2015
                                           Unpublished

****************************
AMY JUNKER,                          *
                                     *
                   Petitioner,       *       Damages Decision Based on Proffer;
                                     *       TDaP; Shoulder Injury Related to
                                     *       Vaccine Administration (“SIRVA”);
SECRETARY OF HEALTH                  *       Special Processing Unit (“SPU”)
AND HUMAN SERVICES,                  *
                                     *
                   Respondent.       *
                                     *
****************************
Mark Theodore Sadaka, Englewood, N.J., for petitioner.
Jennifer Leigh Reynaud, U.S. Department of Justice, Washington, DC for respondent.

                               DECISION AWARDING DAMAGES 1

Dorsey, Chief Special Master:

       On November 26, 2014, Amy Junker filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq., 2 [the
“Vaccine Act” or “Program”]. Petitioner alleges that she suffered a shoulder injury
related to the administration of a Tetanus-Diphtheria-acellular Pertussis vaccine
(“TDaP”) on December 7, 2011. Petition at 1. The case was assigned to the Special
Processing Unit of the Office of Special Masters.

       On March 9, 2015, I issued a ruling on entitlement, finding petitioner entitled to
compensation for her shoulder injury. On October 2, 2015, respondent filed a proffer on
award of compensation [“Proffer”] indicating petitioner should be awarded $70,000.00.
Proffer at 1.


1 Because this unpublished decision contains a reasoned explanation for the action in this case, I intend
to post it on the United States Court of Federal Claims' website, in accordance with the E-Government
Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501
note (2006)). In accordance with Vaccine Rule 18(b), petitioner has 14 days to identify and move to
redact medical or other information, the disclosure of which would constitute an unwarranted invasion of
privacy. If, upon review, I agree that the identified material fits within this definition, I will redact such
material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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      Pursuant to the terms stated in the attached Proffer, I award petitioner a lump
sum payment of $70,000.00 in the form of a check payable to petitioner, Amy
Junker. This amount represents compensation for all damages that would be available
under § 300aa-15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision. 3

                                        s/Nora Beth Dorsey
                                        Nora Beth Dorsey
                                        Chief Special Master




3
 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by each party filing a notice
renouncing the right to seek review.
